Case 16-62019-bem                Doc 31         Filed 06/22/17 Entered 06/22/17 17:45:07                                    Desc Main
                                                Document     Page 1 of 2




   B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                             _______________
                             NORTHERN        District Of _______________
                                                         GEORGIA

         AMY ELIZABETH BARNES
   In re ______________________________,                                     16-62019
                                                                    Case No. ________________



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.

   US Bank Trust N.A., as trustee of                                           Federal National Mortgage
   Bungalow Series F Trust
   ______________________________________                                      Association
                                                                               ____________________________________
             Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                Court Claim # (if known): 7-1
   should be sent:                                                             Amount of Claim: 60,723.83
   c/o BSI Financial Services                                                  Date Claim Filed: 11/09/16
   1425 Greenway Drive, Ste 400
   Irving, TX 75038
          972-347-4350
   Phone: ______________________________                                       Phone: __________________________
                               0550
   Last Four Digits of Acct #: ______________                                                               0550
                                                                               Last Four Digits of Acct. #: __________

   Name and Address where transferee payments
   should be sent (if different from above):
   c/o BSI Financial Services
   PO Box 679002
   Dallas, TX 75267-9002
   Phone: _______________________________
   Last Four Digits of Acct #: _______________



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

      /s/ Michelle R. Ghidotti-Gonsalves
   By:__________________________________                                            06/22/17
                                                                               Date:____________________________
           Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 16-62019-bem   Doc 31   Filed 06/22/17 Entered 06/22/17 17:45:07   Desc Main
                             Document     Page 2 of 2




                                                                         REDACTED
                                                                           REDACTED
